      Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

IN RE NEW ENGLAND COMPOUNDING                    )
PHARMACY, INC. PRODUCTS LIABILITY                )
LITIGATION                                       )
                                                 )   MDL No. 2419
                                                 )   Dkt. No 1:13-md-2419 (RWZ)
THIS DOCUMENT RELATES TO:                        )
                                                 )
                                                 )
All Cases                                        )


     MOTION TO MODIFY / LIFT STAY TO PERMIT DEPOSITION OF THE FDA


      Defendants Saint Thomas Outpatient Neurosurgical Center, LLC; Howell Allen

Clinic, a Professional Corporation; John Culclasure, MD; Debra Schamberg, RN,

CNOR; Vaughan Allen, MD; Specialty Surgery Center, Crossville, PLLC; Kenneth R.

Lister, MD; Kenneth Lister, MD, PC; and Donald E. Jones, MD (collectively “Tennessee

Clinic Defendants”) move this honorable Court to lift or modify the stay precluding a

meaningful deposition of the FDA at Dkt. 2123.

Introduction

      1.       The FDA exercised regulatory authority over NECC for more than a

decade before this outbreak. The FDA inspected the NECC facility in 2002, and again in

2004. On each occasion, the FDA threatened action against NECC. The threats were

hollow. The FDA received specific complaints about NECC’s misconduct in 2006, 2007,

2008, 2009, and 2010. With the exception of a single warning letter, the FDA did not

make complaints public or take decisive action. And, despite internal FDA documents

that demonstrated a plan to re-inspect NECC and take decisive action against NECC,

the FDA did nothing.
       Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 2 of 8




       2.     In May 2011, a month before STOPNC first purchased product from

NECC, the FDA received a cease and desist Order against NECC issued by the state of

Colorado sanctioning NECC for operating illegally. The FDA did nothing.

       3.     The FDA has (rightfully) admitted that it failed to do its job in regulating

NECC.1 If the FDA had done its job and shut NECC down or required it to operate

lawfully – as the FDA is charged to do – the outbreak would not have occurred. The

failure of the FDA proximately caused the injuries to the Plaintiffs making claims against

the Tennessee Clinic Defendants.2

       4.     The FDA has indispensable information to rebut the Plaintiffs’ (incorrect)

claim that, had the Tennessee Clinic Defendants simply queried the FDA prior to buying

from NECC, they would not have bought from NECC.

       5.     In addition, since the FDA investigated NECC and made non-public

findings consistently from 2002-11, it has discoverable information about NECC’s

continued efforts to misrepresent its operations to regulators and customers.




1
  Janet Woodcock, MD, Director, CDER (FDA), testimony before Congress, May 23, 2013 (e.g., “we
should have been more aggressive(.we did not proactively do everything we could”).
2
  See Dkt. 1455, Answer to Master Complaint, Affirmative Defenses, ¶36-55.

                                              2
        Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 3 of 8




Procedural history / summary of argument

        6.       The procedural history relevant to this motion is:

                 a.     The Tennessee Clinic Defendants served the FDA with a subpoena

        for documents and for 30(b)(6) testimony on March 5, 2015.3

                 b.     The FDA responded by filing a motion for protective order, asking

        the Court to issue an order precluding the deposition.4 The FDA argued that a

        deposition of the FDA would impede the criminal prosecution of NECC’s insiders

        and that postponing the deposition until after the criminal trial would be most

        efficient.5

                 c.     The Court granted the FDA’s Motion for Protective Order.6

                 d.     Recently, however, the Court issued an order that indicates an

        intent to try the first bellwether case before the criminal trial.7

        7.       Because the Order at Dkt. 2123 precludes the deposition of the FDA until

after the criminal trial, it will likely be impossible to take the deposition of the FDA before

the first bellwether trial, forcing the Tennessee Clinic Defendants to defend the first civil

case without this important deposition. This change in circumstances created by the

October 7 Order justifies a modification of the protective order.

        8.       Denying the Tennessee Clinic Defendants information held by the FDA,

and denying the jury access to the same information, unjustly prejudices the Tennessee

Clinic Defendants. The Court should modify the protective order at Dkt. 2123 to allow a

deposition of the FDA before the first civil trial.

3
  Dkt. 1720.
4
  Dkt. 1838.
5
  Dkt. 1838-1.
6
  Dkt. 2123.
7
  Dkt. 2309.

                                                3
          Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 4 of 8




          9.      In the alternative, the Tennessee Clinic Defendants request that the Court

modify the stay in place at Dkt. 2123 to state that the first civil trial will not occur until at

least 30 days after the Tennessee Clinic Defendants are able to take this deposition.

Law and Argument

The Court has the power to modify protective orders.

          10.     “[A] protective order, like any ongoing injunction, is always subject to the

inherent power of the district court to relax or terminate the order[.]” Poliquin v. Garden

Way, Inc., 989 F.2d 527, 535 (1st Cir. 1993).

The Court should modify the protective order to allow the Tennessee Clinic
Defendants to depose the FDA prior to the first bellwether trial.

          11.     The October 7, 2015, Order at Dkt. 2309 reflects a plan to try the first

bellwether case before the criminal case concludes. This ruling, coupled with the

protective order at Dkt. 2123, precludes a deposition of the FDA prior to the first

bellwether trial. The prejudice that this creates justifies a modification of the protective

order at Dkt. 2123.

          12.     The testimony of the FDA is very important to several elements of the

Tennessee Clinic Defendants’ defense of these cases. This has been set out in several

briefs.8 It is important to once again, albeit briefly, revisit the indispensable character of

the FDA’s testimony:

                  a.      Comparative fault: The Tennessee Clinic Defendants have

          asserted the fault of the FDA as an affirmative defense to the claims against

          them based, in part, on the wrongful conduct previewed above.9 If the jury finds

          the FDA was at fault and caused or contributed to cause the injuries complained

8
    See, e.g., Dkt. 1881, p. 5-6.
9
    See Dkt. 1455, Answer to Master Complaint, Affirmative Defenses, ¶36-55.

                                                    4
        Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 5 of 8




        of, any award of damages against the Tennessee Clinic Defendants will be

        accordingly decreased.10 Affirmatively proving the fault of the FDA without the

        testimony of anyone from the FDA is a nearly impossible task. No one can

        reasonably argue that presenting documents without explanation to the jury and

        arguing that cold documents prove the fault of the FDA is a viable substitute for

        the effective cross-examination of a witness. The testimony of the FDA is the

        best method to prove its fault.

                b.       Information relevant to fact defenses: The FDA has discoverable

        testimony that will help the Tennessee Clinic Defendants directly rebut the claims

        against them. The Plaintiffs claim that “readily available” information from the

        FDA – had the Tennessee Clinic Defendants obtained it before buying from

        NECC – would have alerted the Tennessee Clinic Defendants to the danger of

        NECC.11 The Tennessee Clinic Defendants counter that the only publicly-

        available (“readily available”) information from the FDA about NECC prior to the

        outbreak was an outdated warning letter that had nothing to do with sterility of

        injectable medications. Only the FDA can describe what was “readily available”

        prior to the outbreak.12 Without the opportunity to cross-examine the FDA, the

        Tennessee Clinic Defendants will be denied the evidence to decisively debunk

        the PSC’s claim that “[t]he FDAFmade it clear...in publicly available documents



10
   See Owens v. Truckstops of America, 915 S.W.2d 420 (Tenn. 1996) (holding that, even in product
liability cases, comparative fault principles apply if negligence claims also brought).
11
   Dkt. 1902, p. 3 (“Plaintiffs take issue with a host of problems with this cavalier attitude towards patient
safety, only one of which is the fact that the Tennessee Clinic Defendants did not also seek readily
available information from the FDA”).
12
   The PSC also contends, rather remarkably, that the Tennessee Clinic Defendants should have done a
FOIA request to the FDA for information on NECC prior to buying from it. (Dkt. 1902, p. 3, n. 5) Only the
FDA can clarify what would have been produced in response to a FOIA request in 2011.

                                                      5
        Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 6 of 8




        that compounding pharmacies posed unique risks when compared to traditional

        FDA regulated manufacturers.”13

                 c.       Information relevant to others’ fault: The FDA holds discoverable

        information relevant to the fault of others. For example, the FDA’s public position

        has been that the Massachusetts Board of Pharmacy was principally

        responsible for the regulation of (or, more aptly, the failure to regulate) NECC.

        Such testimony is directly relevant to prove the comparative fault of the

        Massachusetts Board of Pharmacy.

        13.      The Court’s October 7 Order dramatically increased the prejudice created

by the previous Order at Dkt. 2123. Taken together, the rulings assure that the very

important deposition of the FDA will not happen before the first civil trial. Because of this

extreme prejudice, the Court should modify the stay to allow the Tennessee Clinic

Defendants to take the deposition prior to the first bellwether trial.14

        14.      The Tennessee Clinic Defendants defer to the Court on any modifications

to the protective order the Court wishes to make to alleviate any concern that the

Government has about impeding the criminal case.15 Some suggestions include:

                 a.       Requiring the FDA to designate a witness who will not testify at the

        criminal trial.


13
   Dkt. 1902, p. 2.
14
   The description of the prejudice that exists in forcing the Tennessee Clinic Defendants to try the first
civil case without the necessary depositions is set out in the affidavit at Dkt. 2274-2. All the reasons that it
is prejudicial to not be allowed to depose NECC/MSM prior to the first civil trial hold true for the FDA’s
deposition, too. It may be even more prejudicial to disallow a deposition of the FDA because the
Tennessee Clinic Defendants at least now have the opportunity to depose NECC/MSM former
employees, obtain a Fifth Amendment invocation, and then argue for an adverse inference. With the FDA,
the jury will hear a comparative fault argument with no testimony to accompany it.
15
   Of note, the Tennessee Clinic Defendants likely will subpoena FDA investigators to trial, which will set
off another round of motion practice. The more efficient way to secure the testimony is through a 30(b)(6)
deposition well before trial, rather than issuing trial subpoenas for a litany of local FDA employees.

                                                       6
       Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 7 of 8




              b.     Limiting the topics to pre-outbreak issues.

              c.     Expressly barring the criminal defendants from attending the

       deposition or obtaining the transcript.

       15.    In the alternative, given the prejudice to the Tennessee Clinic Defendants

if they are required to try the first civil case without the deposition of the FDA, the

Tennessee Clinic Defendants request an order that the first civil trial will not occur until

30 days after the deposition of the FDA.




                                                 Respectfully submitted,

                                                 GIDEON, COOPER & ESSARY, PLC

                                                 /s/ Chris J. Tardio
                                                 C.J. Gideon, Jr.*
                                                 Chris J. Tardio*
                                                 Alan S. Bean**
                                                 Matthew H. Cline*
                                                 315 Deaderick Street, Suite
                                                 Nashville, TN 37238
                                                 Ph: (615) 254-0400
                                                 Fax: (615) 254-0459
                                                 chris@gideoncooper.com

                                                 Attorneys for the Tennessee Clinic
                                                 Defendants


* Admitted pursuant to MDL Order No. 1.
** Admitted pro hac vice.




                                             7
       Case 1:13-md-02419-RWZ Document 2412 Filed 11/13/15 Page 8 of 8




                              CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be
served electronically to the registered participants identified on the Notice of Electronic
Filing and copies will be e-mailed or mailed via regular U.S. mail to those participants
identified as unregistered this 13th day of November, 2015.


                                                ______/s/ Chris J. Tardio




                                            8
